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  August 9, 2022                                                              Orrick, Herrington & Sutcliffe LLP
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  Re:     UMG Recordings, Inc. v. Bright House Networks, LLC, Case No. 8:19-cv-710-MSS-
          TGW (M.D. Fla.) - Cox Communications, Inc.’s Notice of Intent to Move to
          Intervene For Purposes of Challenging MarkMonitor’s Motions Regarding
          Destruction of Documents and Redactions

  Hon. Judge Scriven:

  We write concerning Non-Party MarkMonitor, Inc’s Motion Requesting The Court Return Or
  Destroy MarkMonitor’s Sealed Documents, ECF No. 747, and Motion to Redact Portions of July
  12, 2022 Hearing Transcript, ECF No. 748, in the above-referenced action (the “Motions”). We
  represent Cox Communications, Inc. and CoxCom, LLC in Sony Music Entertainment v. Cox
  Communications, Inc. and CoxCom, LLC, No. 18-cv-950-LO-JFA (E.D. Va.), a matter that
  involves substantially identical claims to those asserted against Defendant Bright House
  Networks LLC. We write to give the Court notice of Cox’s intention to file a motion to
  intervene for the limited purpose of opposing MarkMonitor’s Motions and any future motions
  that seek the destruction or sealing of related materials or transcripts. Although Cox has not seen
  the documents that are the subject of MarkMonitor’s motion regarding return or destruction of
  materials, the context of the Motions strongly suggests that the documents at issue are directly
  relevant to pending issues in Sony, including post-judgment motion practice in which Cox sought
  documents regarding the circumstances surrounding the late discovery and disclosure of the
  same source code at issue. Cox believes that MarkMonitor lacks a proper basis for maintaining
  these materials under seal or otherwise preventing their appearance in the public record of this
  litigation.

  “Every circuit court that has considered the question has come to the conclusion that nonparties
  may permissively intervene for purposes of challenging confidentiality orders,” including “after
  a case has been terminated.” Equal Employment Opportunity Comm’n v. Nat’l Children’s
  Center, Inc., 146 F.3d 1042 (D.C. Cir. 1998) (internal quotation marks omitted). Cox has a
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  direct interest in doing so here to protect its access to the materials that MarkMonitor seeks to
  block from public view. These materials appear to be the subject of Cox’s motion, in Sony, for
  relief from judgment under Federal Rules of Civil Procedure 60(b)(2) and 60(b)(3), attached
  hereto. As explained at length in that motion, Cox believes that MarkMonitor failed to produce
  source code and revision history concerning its “fingerprint matching system,” the accuracy of
  which was an essential aspect of the Plaintiffs’ direct infringement case. After discovering that
  MarkMonitor erroneously withheld these materials, Cox has repeatedly sought access to them to
  support its Rule 60 motion and to continue to defend itself against Plaintiffs’ claims. Although
  both the judgment in Sony and the district court’s denial of Cox’s Rule 60 motion are currently
  pending on appeal, Cox has a pressing interest in obtaining access to materials to further attack
  the judgment against it and to mount a comprehensive defense in further proceedings in the event
  of a remand.

  Cox will promptly notify MarkMonitor, Plaintiffs in this case and in Sony, and the RIAA of their
  duty to preserve all such documents and any additional documents or communications
  concerning the circumstances surrounding MarkMonitor’s prior withholding of its source code
  and revision history.

  Cox expects that it can file its motion to intervene as soon as Monday, August 15, 2022. Thank
  you for your consideration.

  Very truly yours,

  /s/ Diana Szego Fassbender
  Diana Szego Fassbender


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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION

   SONY MUSIC ENTERTAINMENT, et al.,

                     Plaintiffs,           Civil No. 1:18-cv-950 (LO / JFA)

               v.

   COX COMMUNICATIONS, INC, et al.,

                     Defendants.



     COX’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR RELIEF
   FROM THE JUDGMENT UNDER RULES 60(B)(2) AND 60(B)(3) AND REQUEST FOR
                 INDICATIVE RULING UNDER RULE 62.1



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                                         INTRODUCTION

         Eight days before the one-year anniversary of the entry of judgment in this matter, and just

  nine days after Cox filed a motion with the Court under Rule 60(b)(3) demonstrating that Plaintiffs

  had concealed and misrepresented the provenance of their MarkMonitor-compiled evidence of

  direct infringement, Plaintiffs disclosed in their nearly identical suit against Charter

  Communications, Inc.1 that MarkMonitor had discovered previously unproduced source code and

  revision history information from the period at issue in this case that relates to how its system

  incorporated data from Audible Magic to verify whether an allegedly infringing file contained

  Plaintiffs’ copyrighted works. MarkMonitor had previously represented to Cox that this code and

  revision history information did not exist. As set forth below, this revelation may warrant further

  relief under Rule 60(b)(2) and/or Rule 60(b)(3).

         The purported accuracy of MarkMonitor’s system—and, in particular, its ability to utilize

  Audible Magic’s “fingerprint matching” technology to assure that only legitimate allegations of

  infringement were made—was essential to Plaintiffs’ direct infringement case. This is because

  Plaintiffs’ only contemporaneous evidence of direct infringement were the MarkMonitor-

  generated notices—mere emails that claimed that MarkMonitor had observed that a specified file

  was being shared by a computer at a Cox-assigned IP address through a P2P network and that the

  file contained one or more of Plaintiffs’ works. The emails’ claim that what a subscriber was

  sharing depended entirely upon the functionality of MarkMonitor system’s ability to reliably query

  Audible Magic’s database for the files it had found and ingest and store Audible Magic’s

  responses. Like any functionality in a computer system, MarkMonitor system’s ability to reliably

  generate, ingest, and store Audible Magic data was determined by the source code governing those


  1
   Warner Records, Inc. et al. v. Charter Communications, Inc., Case No. 1:19-cv-00874-RBJ-
  MEH (D. Colo.) (“Charter”).
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  operations. Cox expressly sought MarkMonitor’s code and its revision history information and

  ultimately obtained a court order for its production over MarkMonitor’s vehement objections.

         In advance of the court-ordered source code review, MarkMonitor’s counsel unequivocally

  represented that “[t]here is no revision history … as MarkMonitor was only running one version

  [of its software] during the relevant time period,” that “[t]he source code represents the source

  code for the version of MarkMonitor’s system during the relevant time period,” and that “[t]he

  source code is in its original executable form without revision or modification … .” Ex. A (March

  27, 2019 email from A. Castricone to D. Leiden). Likewise, subsequent to the code review,

  MarkMonitor’s corporate designee, Samuel Bahun, testified that “

                                                                                                  ” Ex.

  B (Bahun Dep. Tr.) at 63:6-22.

         Plaintiffs’ recent revelation demonstrates that each of those representations were false: the

  relevant source code for the Audible Magic functionality was not produced to Cox, and there was

  a revision history for it that was not disclosed. As a result of these false representations, and

  MarkMonitor’s now admittedly incomplete production of essential source code and revision

  history data, Plaintiffs’ expert apparently relied on a version of the code that was not in use at the

  relevant time when opining that MarkMonitor’s system reliably detected infringement.

  Conversely, Cox’s expert was deprived of the ability to fully rebut that opinion, all of which was

  central to Plaintiffs’ direct infringement case. Indeed, at trial, both experts relied on

  MarkMonitor’s code to offering opinions regarding MarkMonitor’s system and Plaintiffs’ direct

  infringement evidence. This new admission casts the entire aspect of the proceeding into question.

         Plaintiffs’ revelation demonstrates the existence of newly discovered evidence, which

  seems likely to warrant relief under Rule 60(b)(2). Further, based upon MarkMonitor’s



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  representations to Cox, and its close coordination with Plaintiffs, this revelation may also warrant

  relief under Rule 60(b)(3). Thus, not only has it now been revealed that Plaintiffs compiled much

  of their evidence of direct infringement after the Claims Period—the subject of Cox’s pending

  Rule 60(b)(3) motion (ECF 737), but it is now clear that a key element of the minimal evidence

  Plaintiffs did have during the Claims Period—namely MarkMonitor’s source code—was

  incomplete and, to the extent it was complete, it was at least in part not the code that was in use at

  the relevant point in time. Cox was not permitted to put any of this before the jury, which

  necessarily prejudiced its ability to challenge Plaintiffs’ evidence of direct infringement.

         Cox’s deadline to file motions under Rule 60(b) is January 12, 2022. Cox files this motion

  under both Rules 60(b)(2) and 60(b)(3) to preserve its rights regarding the prejudice it suffered

  from the failure of Plaintiffs and MarkMonitor to produce the newly disclosed source code during

  discovery, and respectfully requests that the Court make an indicative ruling under Rule 62.1 that

  it is inclined to grant Cox’s requested relief or, at a minimum, that the motion raises a substantial

  issue warranting further consideration on remand.

         Cox further requests that the Court order discovery sufficient to allow Cox to pursue any

  claim for relief that the evidence may demonstrate, including (1) production and/or inspection of

  the source code and revision history data in question, (2) additional discovery and expert analysis

  regarding the content and significance of this previously unproduced source code, (3) discovery as

  to why this information was not previously identified and produced, and how it was recently

  discovered, and (4) any additional discovery that may be warranted.2 Cox further respectfully



  2
    Cox also seeks discovery in connection with its pending Rule 60(b)(3) motion to further
  substantiate its claims that Plaintiffs wrongfully withheld material evidence and otherwise made
  misrepresentations before and during trial. See ECF 737. Plaintiffs’ recent disclosure of
  MarkMonitor’s conceded failure to disclose relevant source code further supports granting such
  discovery.
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  requests that the Court hold this motion in abeyance pending Cox’s review of such discovery,

  should it be ordered, and grant it leave to file an amended Rule 60(b)(2) and/or Rule 60(b)(3)

  motion, if warranted.

                                         LEGAL STANDARD

         Rule 60(b)(2) provides for relief from a judgment where “(1) the evidence is newly

  discovered since the judgment was entered; (2) due diligence on the part of the movant to discover

  the new evidence has been exercised; (3) the evidence is not merely cumulative or impeaching;

  (4) the evidence is material; and (5) the evidence is such that is likely to produce a new outcome

  if the case were retried, or is such that would require the judgment to be amended.” Boryan v.

  United States, 884 F.2d 767, 771 (4th Cir. 1989); see also Carroll v. Eaton Corp. Long Term

  Disability Plan, 2017 WL 5635450 (D.S.C. June 19, 2017); Fields v. City of Chicago, 981 F.3d

  534 (7th Cir. 2020); Kurzweil v. Philip Morris Cos, 1997 WL 167043 (S.D.N.Y. Apr. 9, 1997).

  Where additional information may be required to establish certain of these elements, courts may

  order further discovery in support of a Rule 60(b)(2) motion. See, e.g., Johnson v. Starbucks Corp.,

  2019 WL 402359 (N.D. Cal. Jan. 31, 2019); MMAR Grp., Inc. v. Dow Jones, 187 F.R.D. 282 (S.D.

  Tex. Apr. 8, 1999).

         Rule 60(b)(3) in turn provides that “[o]n motion and just terms, the court may relieve a

  party” from final judgment because of “fraud … misrepresentation, or misconduct by an opposing

  party.” Fed. R. Civ. P. 60(b)(3). There are “three factors that a moving party must establish to

  prevail on a Rule 60(b)(3) motion”: (1) “misconduct,” (2) “the misconduct [must have] prevented

  the moving party from fully presenting its case,” and (3) “the moving party must have a meritorious

  defense.” Schultz v. Butcher, 24 F.3d 626, 630 (4th Cir. 1994). The rule is explicit that “fraud” is

  a sufficient predicate for relief, but it is also clear that “misrepresentation” and, more generically,

  “misconduct” may also justify a new trial. Id. Moreover, the Fourth Circuit has recognized that
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   “an adverse party’s failure, either inadvertent or intentional, to produce [] obviously pertinent

   requested discovery material in its possession is misconduct under the meaning of Rule 60(b)(3).”

   Id. Misconduct, in whatever guise, must be proved by “clear and convincing evidence,” Lindsey

   v. Highwoods Realty Ltd. P’ship, 2012 WL 10242638, at *1 (E.D. Va. Dec. 5, 2012) (internal

   citations omitted), but the evidence “does not have to be result altering to warrant” relief under

   Rule 60(b)(3), Schultz, 24 F.3d at 631. “Rule 60(b)(3) focuses not on erroneous judgments as such,

   but on judgments which were unfairly procured.” Id. (citation omitted). After proof of the three

   elements, “the court must balance the competing policies favoring the finality of judgments and

   justice being done in view of all the facts, to determine within its discretion, whether relief is

   appropriate in each case.” Id. at 630 (internal citations omitted).

          While an appeal is pending, a district court retains jurisdiction to consider a motion for

   relief under Rule 60(b). See Fobian v. Storage Tech. Corp., 164 F.3d 887, 891 (4th Cir. 1999). The

   Fourth Circuit has instructed that, upon a filing of a Rule 60(b) motion while an appeal is pending,

   the district court may deny the motion, or may “issue an indicative ruling under [Rule] 62.1 stating

   that a Rule 60(b) motion … raises a substantial issue or would be granted.” Fourth Circuit

   Appellate Procedure Guide (Feb. 2021).

                                     FACTUAL BACKGROUND

          A.      Plaintiffs’ Relationship with MarkMonitor

          MarkMonitor has provided anti-piracy services to the Recording Industry Association of

   America (the “RIAA”), Plaintiffs’ industry representative, for more than a decade. Relevant here,

   between 2012-2015, MarkMonitor sent notices on behalf of Plaintiffs (through the RIAA) to ISPs,

   including Cox. As is discussed in Cox’s pending Rule 60(b)(3) motion, in 2016, Plaintiffs’ outside

   counsel Oppenheim + Zebrak LLP (“O+Z”) closely worked with MarkMonitor and the RIAA to

   examine 2012-2015 notice data and to re-download and secure Audible Magic’s re-verification of

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   the content of allegedly infringing files. ECF 737 at 9-11. As a result of that analysis, in or around

   March 2016, Plaintiffs sent a demand letter to Cox. Id.

          Nearly two and a half years later, in July 2018, Plaintiffs filed suit against Cox. ECF 1. In

   November 2018, at the start of discovery in this case,



                                                                                 (the “2018 Litigation

   Agreement”). See Ex. C (2018 Litigation Agreement).



                               ” Id.

          The following month, Plaintiffs stated in their initial disclosures that MarkMonitor and the

   RIAA each could be contacted through O+Z. See Ex. D (Pls.’ Dec. 12, 2018 Initial Disclosures).

   Plaintiffs identified MarkMonitor as a potential source of relevant information regarding its

   “observation of infringements by Cox subscribers[,] infringement of Plaintiffs’ copyrighted works

   by Cox subscribers[, and] notices of copyright infringement sent to Cox.” Id. Plaintiffs also

   explained that the RIAA might have relevant information regarding its “[m]anagement of the

   MarkMonitor notice program.” Id.

          After Cox served a subpoena on MarkMonitor—through its counsel at O+Z, Jeff Gould, as

   Plaintiffs had requested—Plaintiffs informed Cox that it should instead serve the subpoena directly

   on MarkMonitor, which it did (discussed immediately below). As the discovery record

   demonstrates, Plaintiffs and MarkMonitor nevertheless closely coordinated MarkMonitor’s

   discovery responses.




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          B.        Cox’s Subpoena on MarkMonitor for Source Code and Revision History Data

          On January 7, 2019, Cox served a subpoena on MarkMonitor in which it sought a range of

   information, including all versions of its source code and revision history information for the

   Claims Period:

                    Request No. 12: One copy of each version of Your System that was
                    in use during Plaintiffs’ Claim Period, including all versions of the
                    source code for each, that was used to monitor and/or detect
                    copyright infringement, generate copyright infringement notices, or
                    send copyright infringement notices.

                    Request No. 13: All Documents concerning the revision history of
                    Your System and the associated source code.

   See Ex. E (Cox’s Subpoena Duces Tecum to MarkMonitor), Nos. 12 & 13.

          MarkMonitor failed to timely respond to the subpoena, though it eventually agreed to

   produce responsive documents except for its source code and revision history data. See Ex. F

   (MarkMonitor’s Objections and Responses to Cox’s Subpoena Duces Tecum) Nos. 12 & 13. Cox

   then moved to compel MarkMonitor to produce this data. See Cox Commc’ns, Inc. v.

   MarkMonitor, Inc., Case No. 19-mc-80050-SK (N.D. Cal.) (“Cox v. MarkMonitor”). Ex. G (Cox

   v. MarkMonitor ECF 1). In support of its motion, Cox argued that “MarkMonitor does not dispute

   that Cox is seeking relevant information, agreeing to produce documents in response to a large

   portion of Cox’s Subpoena but withholding the most critical pieces—its actual system used to

   target Cox and documents regarding the revision history and associated source code … .” Id. at

   12. Cox’s technical expert, Dr. Nick Feamster, in turn submitted a declaration in which he

   explained that the technical documents MarkMonitor was offering in lieu of the source code and

   its revision history were insufficient:

                    The only way to review and analyze the functionality of
                    MarkMonitor’s system at each relevant point in time is to access
                    the actual system and the source code, which is version-controlled
                    and time-stamped. I understand that the plaintiffs assert claims for

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                  alleged infringements occurring in 2013 and 2014, and therefore it
                  is critical to understand exactly how the code was operating during
                  this period. The technical documentation is likely not only to be an
                  imprecise description of the software, but there is a significant
                  possibility that, given the evolving nature of software, it may not
                  accurately or precisely reflect the functioning of the software
                  during the period relevant to the case.

   Ex. H (Cox. v. MarkMonitor ECF 2, Feamster Decl.) ¶ 7 (emphasis added).

          In its attempt to avoid producing its source code and revision history data, MarkMonitor

   argued that it “is unaware of any circumstances where the accuracy of infringement detection and

   notification have been questioned where the veracity and reliability of MarkMonitor’s system

   could not be assessed without the production of the system or source code” and that Cox’s request

   for its source code and revision history data seeks “trade secret and other confidential information.”

   Ex. I (Cox v. MarkMonitor ECF 12) at 4, 7.

          The Cox v. MarkMonitor court rejected MarkMonitor’s argument, credited Dr. Feamster’s

   statements that MarkMonitor’s proffered technical documents were no substitute for the source

   code itself, and ordered MarkMonitor to “comply fully with the subpoena Requests 12 and 13 by

   allowing [Cox’s] expert to inspect each version of its system in use during the claim period, all

   documents regarding revision history, and associated source code,” noting, “[MarkMonitor’s]

   contention that the information sought is available through other sources is unavailing.” Ex. J

   (Cox v. MarkMonitor ECF 14) at 4-5 (emphasis added).

          C.      MarkMonitor’s Representations Regarding Its Available Source Code and
                  Revision History Data

          In the weeks following the Cox v. MarkMonitor court’s order, Cox’s counsel sent multiple

   emails and letters to MarkMonitor’s counsel regarding MarkMonitor’s compliance with the order,

   including the source code and revision history information that would be made available for

   inspection. MarkMonitor’s counsel ultimately represented that (1) “[t]here is no revision history


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   … as MarkMonitor was only running one version during the relevant time period,” (2) “[t]he

   source code represents the source code for the version of MarkMonitor’s system during the

   relevant time period,” and (3) “[t]he source code is in its original executable form without

   revision or modification.” Ex. A (Mar. 27, 2019 email from A. Castricone to D. Leiden) (emphasis

   added).

             Relying on counsel’s representations, Cox proceeded with the source code review. In

   performing that review, Dr. Feamster observed that



                                                                                 See Ex. K (Feamster

   Rebuttal Rpt.) ¶ 47. Dr. Feamster later concluded that



                                                        See Ex. L (Feamster Dep. Tr.) 76:21-77:3.

             Cox followed up on the issues raised by its expert, seeking testimony from MarkMonitor’s

   witnesses as to whether the relevant code had in fact been produced. MarkMonitor’s deponents

   confirmed the completeness of its production. First, Sam Bahun, MarkMonitor’s Director of Sales

   and Account Management—                                                               and who was

   its corporate representative

         —testified that MarkMonitor “



                                     ” Ex. B (Bahun Dep. Tr.) 63:6-22. Second, Slawomir Paszkowski,

   MarkMonitor’s Senior Development Director—who was designated as its corporate representative

   for                                                    —testified MarkMonitor had “




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                                          Ex. M (Paszkowski Dep. Tr.) 106:13-24. However, because

   MarkMonitor’s counsel represented that there were no revisions made to the relevant source code

   during the Claims Period, (see Ex. A (March 27, 2019 email from A. Castricone to D. Leiden)),

   none of the revision history data was to be produced under the Cox v. MarkMonitor court’s order,

   beyond what purported to be the relevant iteration of the code.

          D.      The Purported Accuracy of MarkMonitor’s System Was Critical to the
                  Judgment

          The purported accuracy of MarkMonitor’s system was a critical issue throughout

   discovery, in summary judgment proceedings, and at trial, which is why Cox had served targeted

   discovery on MarkMonitor regarding its systems, including its source code. See Ex. E (Cox’s

   Subpoena Duces Tecum to MarkMonitor), Nos. 12 & 13. Cox also served discovery both on

   Plaintiffs and their agent the RIAA, which Plaintiffs represented managed MarkMonitor for

   purposes of sending notices of alleged infringement. See Ex. D (Pls.’ Dec. 12, 2018 Initial

   Disclosures). Both Plaintiffs and Cox also engaged experts who each examined MarkMonitor’s

   available source code in reviewing the MarkMonitor system and issued reports in which they

   formed conclusions regarding the accuracy of the notices generated by the system that ultimately

   were offered at trial. See Ex. K (Feamster Rebuttal Rpt.) at 4-6; Ex. N (Frederiksen-Cross Rpt.) at

   4, ¶¶ 17, 51-70.

          Dr. Feamster specifically raised issues about the ability of the MarkMonitor system to

   reliably incorporate Audible Magic data for use in generating notices of infringement. Ex. K

   (Feamster Rebuttal Rpt.) ¶¶ 32-35. The Court precluded most of Dr. Feamster’s findings on this

   issue prior to trial on the ground that they had rested on data from Audible Magic that the Court

   determined to be inadmissible. See ECF 589 at 3. Cox submitted a written proffer of evidence on


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   this issue at trial and renewed its effort to introduce the precluded expert testimony. Ex. O (Trial

   Tr.) 2341:19-2344:1. The Court again declined to allow the proffered expert testimony. However,

   in his report, Dr. Feamster specifically noted that his ability to evaluate the MarkMonitor system

   had been hampered by the quality of the source code produced for review, noting, in particular,

   that the code produced

                            Ex. K (Feamster Rebuttal Rpt.) ¶ 47. Dr. Feamster identified these

   shortcomings in the code that he had inspected at trial. Ex. O (Trial Tr.) 2236:10-2237:7.

          Like Dr. Feamster, Plaintiffs’ technical expert, Barbara Frederiksen-Cross reviewed the

   source code, reporting that




                                 id. ¶ 51. See also id. ¶ 94




   She offered testimony to the same effect at trial. See Ex. O (Trial Tr.) 423:25-424:18, 460:16-

   461:2; see also id. 2944:25-2945:11 (Plaintiffs’ closing argument arguing the Frederiksen-Cross’

   opinions were reliable because, inter alia, she had reviewed the MarkMonitor source code).

          E.      Plaintiffs’ Recent Disclosure of MarkMonitor Source Code and Revision
                  History Data

          Just over a week after Cox filed its pending Rule 60(b)(3) Motion,3 Plaintiffs’ counsel

   disclosed in Charter that in November 2021 MarkMonitor purported to have discovered certain


   3
    On December 27, 2022, Cox filed a motion under Rule 60(b)(3) based on disclosures on the
   public docket in Charter that reveal that Plaintiffs misrepresented the provenance of certain
   MarkMonitor-generated evidence on which they based their direct infringement case. ECF 737.
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   source code and revision history data that MarkMonitor previously represented to Cox (and

   Charter) did not exist and it did not produce in this case. Specifically, Plaintiffs disclosed the

   following:

                  Plaintiffs’ counsel has just learned today that on November 4, 2021
                  MarkMonitor located source code for File Hash Manager with
                  revision history dating from June 25, 2012 to April 15, 2016. We
                  are informed that MarkMonitor can make available a copy of this
                  code for Charter’s inspection. Plaintiffs’ counsel will work with you
                  to ensure that happens efficiently and expeditiously. We are
                  investigating this further, including to understand why it was not
                  located or disclosed earlier, but wanted to share what we do know
                  immediately.

                  We are also informed that MarkMonitor can make available for
                  inspection a copy of source code for Torrent Manager with revision
                  history dating to December 7, 2016, consistent with Mr. Bahun’s
                  deposition testimony in this matter.

                  To the extent additional information becomes available to Plaintiffs’
                  counsel, we will promptly let you know.

   Ex. P (Jan. 5, 2022 email from J. Gould to Charter’s outside counsel of record).4

          On January 10, 2022, Cox’s and Plaintiffs’ counsel held a meet and confer, in accordance

   with L.R. 7(E), in which the parties discussed the relief Cox presently seeks. Plaintiffs’ counsel

   represented that Plaintiffs would oppose this motion.




   4
     The “Torrent Manager” source code appears to relate to the “file verification” functionality of
   the MarkMonitor system, and in particular, Torrent Manager assures that the MarkMonitor system
   “reflects the status of each reviewed file, indicating whether it is incomplete, fake, or a verified
   infringing work.” Ex. Q (Trial Ex. DX 130, Stroz Friedberg, Independent Assessment of
   MarkMonitor AntiPiracy Methodologies (Oct. 31, 2012)), at 6 (HL_176). The Cox record does not
   disclose the functionality of the Hash Manager source code.
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                                             ARGUMENT

   I.     COX HAS DEMONSTRATED A BASIS FOR THE COURT TO ORDER
          DISCOVERY IN SUPPORT OF ITS RULE 60(b)(2) MOTION

          The recently disclosed MarkMonitor source code and revision history data constitute

   “newly discovered evidence,” which may give rise to relief under Rule 60(b)(2). As set forth

   above, relief is warranted where “(1) the evidence is newly discovered since the judgment was

   entered; (2) due diligence on the part of the movant to discover the new evidence has been

   exercised; (3) the evidence is not merely cumulative or impeaching; (4) the evidence is material;

   and (5) the evidence is such that is likely to produce a new outcome if the case were retried, or is

   such that would require the judgment to be amended.” See Boryan, 884 F.2d at 771; see also

   Carroll, 2017 WL 5635450; Fields, 981 F.3d 534 (7th Cir. 2020); Kurzweil, 1997 WL 167043.

          Cox can readily demonstrate each of these factors, though it requires the production of the

   source code, revision history information, and any further necessary discovery to fully demonstrate

   that “the missing evidence was ‘of such a material and controlling nature as [would] probably

   [have] change[d] the outcome.’” Schultz, 24 F.3d at 631 (quoting Anderson v. Cryovac, Inc., 862

   F.2d 910, 924 n.10 (1st Cir. 1988)).

          First, there is no question that this “evidence is newly discovered since the judgment was

   entered.” The judgment in this case was entered on January 12, 2021 (ECF 723), and Plaintiffs’

   counsel disclosed the discovery of the Hash Manager source code and revision history through

   2016 and the availability of the Torrent Manager source code and revision history through 2016

   on January 5, 2022, nearly a year later. See Ex. P (Jan. 5, 2022 email from J. Gould to Charter’s

   outside counsel of record).

          Moreover, MarkMonitor’s prior representations regarding the source code available in this

   case and the absence of any relevant revision history information further demonstrate that this


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   evidence is newly discovered to Cox. Specifically, after MarkMonitor was ordered to produce its

   source code and related revision history in this case, its outside counsel represented to Cox that

   “[t]here is no revision history … as MarkMonitor was only running one version during the relevant

   time period,” “[t]he source code represents the source code for the version of MarkMonitor’s

   system during the relevant time period,” and “[t]he source code is in its original executable form

   without revision or modification.” Ex. A (March 27, 2019 email from A. Castricone to D. Leiden).

          Second, Cox exercised “due diligence” to uncover this evidence. Cox served discovery

   requests on MarkMonitor seeking both MarkMonitor’s source code and revision history

   information, see supra at 6—the precise information that was recently disclosed in Charter. When

   MarkMonitor refused to produce source code and revision histories, Cox successfully moved to

   compel.

          Following that order, MarkMonitor represented that it would be producing “the source code

   for the version of MarkMonitor’s system during the relevant time period … in its original

   executable form without revision or modification,” but that “[t]here is no revision history … as

   MarkMonitor was only running one version during the relevant time period.” Ex. A (March 27,

   2019 email from A. Castricone to D. Leiden). Dubious of that assertion, Cox deposed

   MarkMonitor’s witnesses regarding the MarkMonitor source code and, more broadly,

   MarkMonitor’s system and operations. Bahun confirmed that MarkMonitor “



                                                                        ” Ex. B (Bahun Dep. Tr.) at

   63:6-22.

          In short, Cox asked for the code and its revision history, compelled its production, and

   demanded and received assurances from counsel and MarkMonitor’s witnesses that the relevant



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   code would be and then had been produced, and that there was no applicable version history. Cox,

   thus, diligently pursued MarkMonitor’s source code and revision history information throughout

   discovery.

             Third, the missing source code and revision history data necessarily are not “merely

   cumulative or impeaching.” Plaintiffs lacked any contemporaneous evidence of alleged direct

   infringement other than the MarkMonitor-generated notices of alleged infringement, which are the

   ultimate output of MarkMonitor’s system. Thus, the claimed accuracy of these notice emails

   entirely depends on the functionality of the MarkMonitor system. Accordingly, the relevance of

   the MarkMonitor system’s source code was recognized by both sides’ experts, who reviewed it to

   assess the system’s reliability. Ms. Frederiksen-Cross found that the code provided to her

   supported the system’s reliability, see Ex. N (Frederiksen-Cross Rpt.) at 4, ¶¶ 17, 51-70, but she

   necessarily cannot have opined as to code that she did not see. And Dr. Feamster found that the

   code produced did not adequately disclose relevant functionality, the reliability of which he

   disputed. See, e.g., Ex. K (Feamster Rebuttal Rpt.) at 4-6, ¶ 47. But he too could obviously not

   opine as to the reliability of a system that operated in conformity with code that he was not able to

   review.

             MarkMonitor argued in opposition to the subpoena there was no need to produce its source

   code and revision history data because its technical documentation should suffice. But setting aside

   the fact that both experts did not solely rely on technical documentation and, instead, required

   access to the code, the Cox v. MarkMonitor court rejected MarkMonitor’s argument, finding that

   “[MarkMonitor’s] contention that the information sought is available through other sources is

   unavailing.” Ex. J (Cox v. MarkMonitor ECF 14 at 4 (emphasis added). Thus, the missing source

   code and revision history data are not “merely cumulative or impeaching.”



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          Fourth, for many of the same reasons set forth above, the source code and revision history

   are material, as they directly bear on Plaintiffs’ direct infringement case. As discussed above, both

   parties engaged technical experts to review the code and to testify about it at trial. MarkMonitor’s

   representation was that the experts had reviewed the relevant code, but that now appears to be

   incorrect. If the code itself was material, as surely it was, then, of necessity, MarkMonitor’s failure

   to produce the right version of the code was a material omission, and provision of the right version

   of the code would be new and material evidence.

          Further, as set forth in Cox’s pending Rule 60(b)(3) motion, Plaintiffs’ primary evidence

   of direct infringement was created after the Claims Period—a fact they withheld from the Court,

   the jury, and Cox. Plaintiffs attempted to avoid the deficiencies with respect to their evidence of

   direct infringement by touting the accuracy of the MarkMonitor system—repeatedly stating that

   matching by has value infringing files (found on subscriber computers) to copyrighted files (as

   determined by Audible Magic) was sufficient. The revelation that the source code that was

   supposed to implement those comparisons, and which Cox’s expert reviewed, was incomplete and

   not what was actually used at the time, undermines those claims. Thus, this newly disclosed source

   code and revision history data, coupled with the revelation (as set forth in Cox’s Rule 60(b)(3)

   motion) that the files on Plaintiffs’ Hard Drive were downloaded after the Claims Period and the

   MarkMonitor Spreadsheet purportedly contains verifications of different files renders this

   evidence indisputably material.

          Finally, because Cox has not yet had the opportunity to review the missing source code

   and revision history data, Cox requires their production and/or inspection and further discovery so

   that it can demonstrate whether “the evidence is such that is likely to produce a new outcome if

   the case were retried, or is such that would require the judgment to be amended.” See Boryan 884



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   F.2d at 771. Based on the materiality of the newly discovered evidence, however, there is more

   than a sufficient basis on which to hold in abeyance Cox’s motion under Rule 60(b)(2) until the

   newly discovered code and its revision history can be produced and/or inspected and any necessary

   additional discovery and expert analysis pursued. See, e.g., Starbucks Corp., 2019 WL 402359

   (holding a Rule 60(b)(2) motion in abeyance but ordering document and deposition discovery so

   that the parties could more fully address whether the newly discovered evidence is of “such

   magnitude that production of it earlier would have been likely to change the disposition of the

   case”); MMAR Group, Inc. v. Dow Jones, 187 F.R.D. 282 (S.D. Tex. Apr. 8, 1999) (ordering

   discovery in support of a Rule 60(b) motion, overseen by a special master, and granting an

   amended Rule 60(b) motion, based on that further discovery).

   II.    COX HAS DEMONSTRATED A BASIS FOR THE COURT TO ORDER
          DISCOVERY IN SUPPORT OF ITS RULE 60(b)(3) MOTION

          Cox also respectfully requests that the Court hold in abeyance the portion of Cox’s motion

   that seeks relief under Rule 60(b)(3) and permit Cox to seek discovery regarding why the recently

   disclosed source code and revision history information was not previously identified and how it

   was recently discovered as well as any additional necessary discovery so that Cox can assess

   whether relief is warranted under Rule 60(b)(3). The Fourth Circuit has specifically recognized

   that “an adverse party’s failure, either inadvertent or intentional, to produce [ ] obviously pertinent

   requested discovery material in its possession is misconduct under the meaning of Rule 60(b)(3).”

   Schultz 24 F.3d at 630. Here, a failure to produce the right version of the source code would seem

   to constitute a “failure … to produce obviously pertinent discovery material.” Given the close

   litigation coordination among Plaintiffs and MarkMonitor, MarkMonitor’s contractual obligation

   to produce documents and provide support in Plaintiffs’ litigation, and the fact that MarkMonitor

   apparently orchestrated the disclosure of the new code through Plaintiffs’ counsel, rather than on


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   its own, Cox is at least entitled to explore whether the newly produced code was within Plaintiffs’

   “possession, custody or control,” whether Plaintiffs were involved at all in MarkMonitor’s and its

   counsel’s inaccurate prior representations regarding the available code and the completeness of its

   production, and whether MarkMonitor’s conduct was in any way attributable to Plaintiffs. The

   Court has the power to permit post-judgment discovery when the moving party can make a “prima

   facie demonstration of success on the merits” or, alternatively, a “colorable claim.” See, e.g.,

   Pearson v. First NH Mortg. Corp., 200 F.3d 30, 35 (1st Cir. 1999); Midwest Franchise Corp. v.

   Metromedia Rest. Grp., Inc., 177 F.R.D. 438, 440 (N.D. Iowa 1997).

                                             CONCLUSION

          For all of the foregoing reasons, Cox respectfully requests that this Court enter an indicative

   ruling under Rule 62.1 stating that it is inclined to grant Cox’s motion for relief from the judgment,

   or—at a minimum—that Cox’s motion raises a substantial issue that warrants further consideration

   by this Court. Upon receipt of such a ruling, Cox will move in the Court of Appeals for the Fourth

   Circuit for a limited remand to this Court to resolve Cox’s motion.



   Dated: January 11, 2022                               Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 11, 2022, the foregoing was filed and served electronically

   by the Court’s CM/ECF system upon all registered users.

                                                        s/ Thomas M. Buchanan
                                                        Thomas M. Buchanan




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